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    CREED, MARK CORDOVA, RICK
  9 ZERKEL, SHELDON GILL, AND
    EDWARD CHAVEZ
 10
 11
 12                                    UNITED STATES DISTRICT COURT
 13             CENTRAL DISTRICT OF CALIFORNIA, EASTERN DIVISION
 14
 15                                                     Case No.: 5:20-CV-441
    COUNTY OF RIVERSIDE, ROBERT
 16 CREED, MARK CORDOVA, RICK
    ZERKEL, SHELDON GILL, AND                           COMPLAINT FOR:
 17 EDWARD CHAVEZ,
                                                        1. FRAUD/INTENTIONAL
 18                       Plaintiffs,                   MISREPRESENTATION
 19             v.                                      2. CIVIL CONSPIRACY
 20 GOOGIE HARRIS SR., GOOGIE                           3. FALSE CLAIMS (31 U.S.C. §
    HARRIS JR., JOAQUIN LEAL III, and                   3729)
 21 DOES 1-10, inclusive,
                                                        4. RACKETEER INFLUENCED
 22                       Defendants.                   AND CORRUPT ORGANIZATIONS
                                                        ACT (R.I.C.O.) (18 U.S.C. § 1962(c))
 23
                                                        5. NEGLIGENT
 24                                                     MISREPRESENTATION
 25
                                                        DEMAND FOR A JURY TRIAL;
 26                                                     NOTICE OF RELATED CASE
                                                        [5:19-CV-01877-JGB-SHK]
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  1
  2                                          COMPLAINT FOR DAMAGES
  3             Plaintiffs COUNTY OF RIVERSIDE (“the County”), ROBERT CREED,
  4 MARK CORDOVA, RICK ZERKEL, SHELDON GILL, AND EDWARD
  5 CHAVEZ (the individuals collectively as the “Investigator Plaintiffs”) (collectively
  6 as the "County Plaintiffs"), by and through their counsel of record, state and allege
  7 as follows:
  8                                           JURISDICTION AND VENUE
  9             1.        This Court has original jurisdiction pursuant to 28 U.S.C §§ 1331 and
 10 1343(a)(3)-(4) because Plaintiffs assert claims arising under the laws of the United
 11 States including 31 USCS § 3729 and 18 USC §1962(c).
 12             2.        This Court has supplemental jurisdiction over Plaintiffs' claims
 13 arising under state law pursuant to 28 U.S.C. § 1367(a), because those claims are
 14 so related to the federal claims that they form part of the same case or controversy
 15 under Article III of the United States Constitution.
 16             3.        Venue is proper in this Court under 28 U.S.C. § 1391(b) because all
 17 incidents, events, and occurrences giving rise to this action occurred in this
 18 district.
 19                                                  PARTIES
 20             4.        Defendant GOOGIE HARRIS, SR. is, and at all times herein alleged
 21 was, an individual residing within the State of California within the County of
 22 Riverside and/or the County of San Bernardino. Defendant GOOGIE HARRIS,
 23 SR. was the husband of victim TERRY CHEEK.
 24             5.        Defendant GOOGIE HARRIS, JR. is, and at all times herein alleged
 25 was, an individual residing with the State of California within the County of
 26 Riverside and/or the County of San Bernardino. Defendant GOOGIE HARRIS,
 27 JR. is the son of defendant GOOGIE HARRIS, SR. and he was the stepson of
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  1 victim TERRY CHEEK.
  2             6.        Defendant JOAQUIN LEAL III is, and at all times herein alleged
  3 was, an individual residing with the State of California within the County of
  4 Riverside and/or the County of Los Angeles. Defendant JOAQUIN LEAL III is
  5 the nephew of defendant GOOGIE HARRIS, SR. and/or a friend of GOOGIE
  6 HARRIS, JR.
  7             7.        All of the relevant events of the incident at issue in this action
  8 occurred within the State of California within the County of Riverside and/or the
  9 County of San Bernardino.
 10             8.        Plaintiffs are ignorant of the true names and capacities of the
 11 defendants sued as Does 1-10, inclusive, and therefore sues these defendants by
 12 such fictitious names. Plaintiffs will amend this complaint to allege their true
 13 names and capacities when ascertained. Plaintiffs are informed and believe and
 14 thereon allege that each of such fictitiously named defendants are responsible in
 15 some manner for the action and/or omissions described herein and that Plaintiffs'
 16 loss as described herein was proximately caused by the acts and/or omissions of
 17 defendants, and each of them.
 18             9.        Plaintiff the COUNTY OF RIVERSIDE (the “County”) is a public
 19 entity municipality formed under the laws of the State of California. At the
 20 pertinent times of the incident described herein below, the County employed the
 21 foregoing individual defendants as investigators through its subordinate law
 22 enforcement agency, the Riverside County Sheriff’s Department (“RSD”).
 23             10.       Plaintiff ROBERT CREED is, and at all times alleged herein was, an
 24 individual employed by the COUNTY OF RIVERSIDE as an investigator.
 25 Plaintiff ROBERT CREED investigated the murder of TERRY CHEEK within the
 26 scope of his employment. At all times herein he resided in the State of California
 27 within the County of Riverside.
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  1             11.       Plaintiff MARK CORDOVA is, and at all times alleged herein was,
  2 an individual employed by the COUNTY OF RIVERSIDE as an investigator.
  3 Plaintiff MARK CORDOVA investigated the murder of TERRY CHEEK within
  4 the scope of his employment. At all times herein he resided in the State of
  5 California within the County of Riverside.
  6             12.       Plaintiff RICK ZERKEL is, and at all times alleged herein was, an
  7 individual employed by the COUNTY OF RIVERSIDE as an investigator.
  8 Plaintiff RICK ZERKEL investigated the murder of TERRY CHEEK within the
  9 scope of his employment. At all times herein he resided in the State of California
 10 within the County of Riverside.
 11             13.       Plaintiff SHELDON GILL is, and at all times alleged herein was, an
 12 individual employed by the COUNTY OF RIVERSIDE as an investigator.
 13 Plaintiff SHELDON GILL investigated the murder of TERRY CHEEK within the
 14 scope of his employment. At all times herein he resided in the State of California
 15 within the County of Riverside.
 16             14.       Plaintiff EDWARD CHAVEZ is, and at all times alleged herein was,
 17 an individual employed by the COUNTY OF RIVERSIDE as an investigator.
 18 Plaintiff EDWARD CHAVEZ investigated the murder of TERRY CHEEK within
 19 the scope of his employment. At all times herein he resided in the State of
 20 California within the County of Riverside.
 21             15.       Non-party victim TERRY CHEEK was the wife of GOOGIE
 22 HARRIS, SR.                   While still married, she was having a romantic affair with
 23 HORACE ROBERTS: a coworker at her laboratory employment.                      HORACE
 24 ROBERTS is not a party to the instant Complaint; however, he is a plaintiff to a
 25 Complaint against the County and others regarding a related incident.
 26 / / /
 27 / / /
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  1     GENERAL ALLEGATIONS AND FACTS COMMON TO ALL CAUSES
  2                                           OF ACTION AND COUNTS
  3             16.       Plaintiffs have conducted a preliminary investigation pursuant to Fed.
  4 R. Civ. P. 11 and other applicable laws and/or Rules, and based on such
  5 investigation, Plaintiffs are informed and believe and allege as follows.
  6             17.       At all times relevant to this complaint, defendants GOOGIE
  7 HARRIS, SR., GOOGIE HARRIS, JR., JOAQUIN LEAL III, and DOES 1-10,
  8 inclusive ("defendants"), were associates, confederates, family members, partners,
  9 and/or co-conspirators.
 10             18.       On or about April 14, 1998, defendants did conspire to and did
 11 kidnap and murder TERRY CHEEK (the “victim” or “decedent”), and thereafter
 12 conspired to defraud Plaintiffs and RSD and other investigators so as to frame
 13 HORACE ROBERTS for a crime he did not commit.
 14             19.       More specifically, after determining that non-party victim TERRY
 15 CHEEK was engaged in a romantic affair with her coworker, HORACE
 16 ROBERTS, defendant GOOGIE HARRIS, SR. began to seek the murder of his
 17 wife, TERRY CHEEK, and to desire revenge against his romantic rival, HORACE
 18 ROBERTS.
 19             20.       Sharing his uncle’s disdain of the victim’s love affair, defendant
 20 JOAQUIN LEAL III began to plot, scheme, and conspire with GOOGIE
 21 HARRIS, SR. to murder the victim and to frame HORACE ROBERTS for that
 22 murder.
 23             21.       During the process of formulating that homicidal plot, GOOGIE
 24 HARRIS, SR. and/or JOAQUIN LEAL III obtained a watch that either belonged
 25 to or was a replica of one they knew or believed to be owned or possessed by
 26 HORACE ROBERTS.                             As part of formulating this plan, these individuals,
 27 potentially with the aid of GOOGIE HARRIS, JR. stalked HORACE ROBERTS
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  1 and/or TERRY CHEEK in order to obtain or collect information to further their
  2 criminal scheme.
  3             22.       While TERRY CHEEK was borrowing a vehicle belonging to
  4 HORACE ROBERTS, driving on some errands on her way to or from work,
  5 GOOGIE HARRIS, SR. and/or JOAQUIN LEAL III contacted the victim and/or
  6 forced her to stop. GOOGIE HARRIS, SR. and/or JOAQUIN LEAL III then
  7 forcibly transported victim TERRY CHEEK against her will to a different
  8 location: pulling her from her borrowed vehicle in order to confront and assault
  9 her. Plaintiffs are also informed and believe that defendants briefly contemplated
 10 seeking a ransom from HORACE ROBERTS for the victim in lieu of killing the
 11 victim.
 12             23.       However, as a result of the confrontation, GOOGIE HARRIS, SR.
 13 and/or JOAQUIN LEAL III then killed victim TERRY CHEEK within the County
 14 of Riverside.
 15             24.       Determined to escape responsibility for their crimes, GOOGIE
 16 HARRIS, SR. and/or JOAQUIN LEAL III then met with defendant GOOGIE
 17 HARRIS, JR. to finalize and/or formulate a plan to frame HORACE ROBERTS
 18 for the victim’s murder: by defrauding law enforcement investigators, including
 19 RSD investigators.
 20             25.       Among other criminal acts, defendants GOOGIE HARRIS, SR.
 21 and/or JOAQUIN LEAL III and/or GOOGIE HARRIS, JR. then planted a wrist
 22 watch that they believed would tie HORACE ROBERTS to the crime at the scene
 23 of the crime, not far from where they left the vehicle belonging to HORACE
 24 ROBERTS that the victim had been driving.
 25             26.       Thereafter, when RSD investigators, including the Investigator
 26 Plaintiffs, as well as other investigators, contacted GOOGIE HARRIS, SR. and/or
 27 JOAQUIN LEAL III and/or GOOGIE HARRIS, JR., such defendants lied to such
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  1 investigators, engaging in intentional misrepresentation, so as to conceal their
  2 knowledge, mislead the investigators, and/or raise suspicions about HORACE
  3 ROBERTS. Among such material misrepresentations, the defendants omitted
  4 and/or falsified information about their whereabouts at the date and time of the
  5 victim’s murder, falsely denied knowledge directly pertaining to her murder, and
  6 (with the purpose of deceiving the investigators) failed to volunteer information
  7 that would have inculpated or implicated them and/or exculpated HORACE
  8 ROBERTS.
  9             27.       In substantial reliance on defendants’ false statements, deception, and
 10 criminal agreement to defraud all responding law enforcement investigators,
 11 including the County Plaintiffs, RSD investigators questioned HORACE
 12 ROBERTS as part of a homicide investigation into the murder of TERRY
 13 CHEEK. Believing in good faith that Mr. ROBERTS’ inconsistent statements,
 14 plus the presence at the crime scene of a watch believed to belong to Mr.
 15 ROBERTS, indicated that Mr. ROBERTS had committed the murder of his lover,
 16 TERRY CHEEK, RSD investigators, including the Investigator Plaintiffs, arrested
 17 or facilitated the arrest of Mr. ROBERTS for the victim’s murder. Moreover,
 18 based on the defendants’ deception and criminal conspiracy, RSD investigators
 19 did not arrest any of the defendants.
 20             28.       After two prior mistrials, based on information provided by the
 21 Investigator Plaintiffs, a jury finally convicted HORACE ROBERTS of the
 22 murder of TERRY CHEEK. At the time, in good faith, the County Plaintiffs
 23 believed that HORACE ROBERTS had committed such heinous act, and that they
 24 had complied with all of their obligations at law leading up to his conviction.
 25             29.       More than twenty years later, technological advancements allowed
 26 the County to determine that: (a) there was no measurable DNA from Mr.
 27 ROBERTS on the watch found at the victim’s murder scene; and (b) the DNA on
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  1 that watch belonged to one or more of the defendants.
  2             30.       As a result of these technological advancements, in May 2018, the
  3 County Plaintiffs learned that HORACE ROBERTS was not guilty of the murder
  4 of TERRY CHEEK and that, instead, his DNA was excluded from the evidence
  5 found with the victim; and that JOAQUIN LEAL III’s DNA was on such physical
  6 evidence.             Prior to this discovery, the County Plaintiffs were unaware of
  7 defendants’ deception, fraud, criminal conspiracy, their involvement in the
  8 kidnapping and/or murder of TERRY CHEEK, and/or the other criminal or other
  9 misconduct of the defendants.
 10             31.       On or about October 3, 2018, HORACE ROBERTS was released
 11 from prison after serving nearly 20 years for the murder of TERRY CHEEK. On
 12 or about November 6, 2018, a California court issued a finding of factual
 13 innocence exonerating Mr. ROBERTS of the victim’s murder.
 14             32.       On January 15, 2019, Mr. ROBERTS filed a claim with California’s
 15 Victim's Compensation Board.                    On February 21, 2019, the Board ultimately
 16 adopted a January 21, 2019 hearing officer’s finding awarding Mr. ROBERTS
 17 $1,044,820 as payment to Mr. ROBERTS for being wrongfully imprisoned for
 18 7,463 days.
 19             33.       On March 29, 2019, Mr. ROBERTS served a Government Code tort
 20 claim on the County that was received on April 1, 2019. On April 5, 2019, the
 21 County denied the claim on the merits and, as to events that became actionable
 22 prior to September 18, 2018, on grounds of the claim being untimely.
 23             34.       On October 1, 2019, HORACE ROBERTS then sued the County in a
 24 related action for various claims arising from theories of wrongful conviction
 25 and/or wrongful prosecution.
 26             35.       As a result of the defendants’ criminal and other misconduct and
 27 wrongdoing, plaintiff County has incurred, suffered, and lost the costs of repeated
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  1 trials of HORACE ROBERTS, of defending his related habeas petitions, of
  2 assisting in his release upon determination of his innocence, and of the costs of
  3 defense in a related civil action brought by Mr. ROBERTS, including civil defense
  4 attorneys’ fees – in excess of tens if not hundreds of thousands of dollars. Plaintiff
  5 County also anticipates potential costs should Mr. ROBERTS prevail in his related
  6 civil lawsuit against the County: including payment of any damages/judgment
  7 and/or for any associated civil case settlement.
  8             36.       As a result of the defendants’ criminal and other misconduct and
  9 wrongdoing, the County Plaintiffs are also informed and believe that the
 10 Investigator Plaintiffs have also incurred, suffered, and lost various costs and sums
 11 of money, including lost overtime, medical and/or therapeutic costs associated
 12 with learning of Mr. ROBERTS’ innocence, as well as any costs of defense in a
 13 related civil action brought by Mr. ROBERTS, including civil defense attorneys’
 14 fees, that are not borne by the County: potentially including any payment of
 15 punitive damages in such suit.
 16                                             FIRST CAUSE OF ACTION
 17           (Fraud/Intentional Misrepresentation And Concealment - Against All
 18                                                   Defendants)
 19             37.       Plaintiffs refer to and incorporate by reference Paragraphs 1 through
 20 39 of the above Complaint as if fully set forth herein.
 21             38.       The representations made by the defendants to the County Plaintiffs
 22 related to both past and present facts which were material in nature. Throughout
 23 the duration of the investigation and proceedings leading to the conviction of Mr.
 24 ROBERTS for TERRY CHEEK's murder, defendants falsely and fraudulently
 25 misrepresented to the County Plaintiffs that they were not involved in, or
 26 responsible for, the victim’s murder and/or did not possess any knowledge
 27 whatsoever as to who was involved and/or responsible.
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   1             39.       The representations made by defendants to the County Plaintiffs were
   2 in fact false. Defendants were attempting to prevent their guilt from being
   3 discovered and ensure their freedom. As detailed above, the true facts were that,
   4 on or about April 14, 1998, defendants did willfully and unlawfully murder the
   5 victim, including an unlawful forcible transportation. Defendants GOOGIE
   6 HARRIS, SR. and JOAQUIN LEAL III intentionally killed the victim while lying
   7 in wait, and GOOGIE HARRIS, JR. had knowledge of the murder and harbored,
   8 concealed, and aided the other defendants after the fact.
   9             40.       When defendants made these representations to the County Plaintiffs,
  10 defendants knew them to be false, and these representations were made by
  11 defendants with the intent to defraud and deceive plaintiffs, and with the intent to
  12 induce plaintiffs to incorrectly believe the defendants’ innocence and to pursue
  13 other, truly innocent, suspects.
  14             41.       Plaintiffs, at the time these representations were made by Defendants
  15 and at the time Plaintiffs took the actions herein alleged, were ignorant of the
  16 falsity of Defendants representations and believed them to be true.
  17             42.       The County Plaintiffs relied on defendants’ false statements, and
  18 defendants’ reliance on defendants' representations was justified because, at the
  19 time they were made, they were corroborated by the physical evidence that was
  20 available as well as some witness statements.
  21             43.       As a result of defendants’ misrepresentation, the County Plaintiffs
  22 have suffered and are likely to continue to suffer damages: and thus seek relief.
  23             44.       As a direct and proximate cause of Plaintiffs' detrimental reliance on
  24 Defendants' intentional misrepresentations, and plaintiff's intentional concealment
  25 of the true facts, Plaintiffs have been damaged and will continue to be damaged in
  26 an amount to be more fully set forth at trial.
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   1                                           SECOND CAUSE OF ACTION
   2                                 (Civil Conspiracy - Against all Defendants)
   3             45.       Plaintiffs refer to and incorporate by reference Paragraphs 1 through
   4 47 of the above Complaint as if fully set forth herein.
   5             46.       The defendants were involved in a civil conspiracy to commit these
   6 wrongs against the County Plaintiffs. Defendants were aware that each of them
   7 planned to fraudulently misrepresent and intentionally conceal their involvement
   8 in, and knowledge of, the TERRY CHEEK murder and falsely proclaim their
   9 innocence to plaintiffs; allowing HORACE ROBERTS to be wrongfully arrested,
  10 charged, and convicted for a crime defendants were responsible for committing.
  11             47.       Defendants agreed with each other, met, formulated a plan, and
  12 jointly conspired and intended that the fraudulent misrepresentation and
  13 intentional concealments as stated herein be committed – so as to advance their
  14 plans to murder TERRY CHEEK, frame HORACE ROBERTS, and thereby cause
  15 harm to the County Plaintiffs.
  16             48.       As a direct and proximate cause of defendants' conspiracy, the
  17 County Plaintiffs have been damaged and will continue to be damaged in an
  18 amount to be more fully set forth at trial.
  19                                            THIRD CAUSE OF ACTION
  20         (Violation of the False Claims Act - By Individual Investigator Plaintiffs
  21                                                 Against All Defendants)
  22             49.       Plaintiffs refer to and incorporate by reference Paragraphs 1 through
  23 51 of the above Complaint as if fully set forth herein.
  24             50.       Defendants knowingly presented or caused to be presented to the
  25 Government false or fraudulent claims, by falsely asserting their innocence
  26 regarding the TERRY CHEEK murder, thereby causing the Investigator Plaintiffs
  27 to conduct further investigations and causing the County and other law
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   1 enforcement agencies to spend further resources prolonging the investigation,
   2 conducting an entire criminal trial and sentencing, and housing HORACE
   3 ROBERTS while incarcerated.
   4             27.       Plaintiffs, unaware of the falsity of the Defendants' statements, and in
   5 reliance on the accuracy thereof, expended their time, money, and resources as
   6 mentioned herein.
   7             28.       By reasons of the fraudulent acts of Defendants in violation of 31
   8 USC § 3729(a)(1), the County Plaintiffs suffered substantial actual damages:
   9 including costs associated with the prosecution of HORACE ROBERTS, costs
  10 associated with defending a civil lawsuit by HORACE ROBERTS, and/or medical
  11 or therapeutic costs to the Investigator Plaintiffs associated with the recent
  12 discovery of Mr. ROBERTS’ innocence, as well as other costs and damages
  13 incurred by all County Plaintiffs, as specified in this Complaint herein above and
  14 elsewhere.
  15             51.       The County Plaintiffs also suffered and continue to suffer damages
  16 that are a direct result of defendants' fraudulent misrepresentations, by impacting
  17 the integrity of their investigation and the justice system.
  18             52.       The Investigator Plaintiffs have also suffered, and/or anticipate
  19 suffering, damages, losses, and other harms arising from defendants’ misconduct –
  20 in violation of federal law – and the impact of such on such plaintiffs’ professional
  21 reputations.
  22                                          FOURTH CAUSE OF ACTION
  23 (Racketeer Influenced and Corrupt Organizations [R.I.C.O.] Act - Pursuant to
  24                                 18 USC § 1962(c) - Against All Defendants)
  25             53.       Plaintiffs refer to Paragraphs 1 through 55 of their Complaint and
  26 incorporate the same herein by reference as though fully set forth at length at this
  27 point.
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   1             54.       At all times relevant to this complaint, defendants, and each of them,
   2 were associated and engaged in, among other criminal activities, kidnapping, acts
   3 of violence involving murder, and conspiracy.
   4             55.       Each of the defendants' actions of kidnapping and murder – and other
   5 criminal misconduct to be identified specifically upon further discovery –
   6 constitutes an instance of "racketeering activity" – as that term is defined in 18
   7 U.S.C. § 1961(1)(A).
   8             56.       Defendants constituted an "enterprise," as defined in 18 U.S.C. §
   9 1961(4): that is, a group of individuals associated in fact. The enterprise
  10 constituted an ongoing organization whose members functioned as a continuing
  11 unit for a common purpose of achieving the objectives of the enterprise.
  12             57.       The multiple acts of racketeering by the defendants were interrelated,
  13 part of a common and continuous pattern of illegal schemes, all perpetrated for the
  14 same or similar purposes, all of which occurred within 10 years of one another and
  15 all of which occurred after the effective date of the RICO Act (18 U.S.C. § 1961,
  16 et seq.). As a result, such acts constitute a pattern of racketeering activity as
  17 defined in 18 U.S.C. § 1961(5).
  18             58.       Defendant GOOGIE HARRIS, SR. is associated with the Enterprise
  19 and participated directly in the conduct of said Enterprise's affairs through the
  20 aforementioned pattern of racketeering activity.
  21             59.       Defendant GOOGIE HARRIS, JR. is associated with the Enterprise
  22 and participated directly in the conduct of said Enterprise's affairs through the
  23 aforementioned pattern of racketeering activity.
  24             60.       Defendant JOAQUIN LEAL III is associated with the Enterprise and
  25 participated directly in the conduct of said Enterprise's affairs through the
  26 aforementioned pattern of racketeering activity.
  27             61.       Defendants DOES 1-10 are associated with the Enterprise and
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   1 participated directly in the conduct of said Enterprise's affairs through the
   2 aforementioned pattern of racketeering activity.
   3             62.       The actions of the defendants violated 18 U.S.C. § 1961(c).
   4             63.       As a direct and proximate cause result of the Defendants' violations
   5 of 18 U.S.C. § 1961(c) – and other federal laws – the County Plaintiffs have each
   6 been injured and continue to be injured by defendants: resulting in damages,
   7 losses, costs, and harms in an amount to be more fully set forth at trial.
   8                                             FIFTH CAUSE OF ACTION
   9                       (Negligent Misrepresentation – Against All Defendants)
  10             64.       Plaintiffs refer to Paragraphs 1 through 66 of their Complaint and
  11 incorporate the same herein by reference as though fully set forth at length at this
  12 point.
  13             65.       During the County Plaintiffs’ investigation into the murder of
  14 TERRY CHEEK, defendants GOOGIE HARRIS, SR., GOOGIE HARRIS, JR.,
  15 and JOAQUIN LEAL III represented to the County Plaintiffs as true facts that
  16 were not true and for which defendants had no reasonable grounds to believe such
  17 alleged facts were true.
  18             66.       In doing so, defendants intended that the County Plaintiffs rely on
  19 such untrue facts, and the County Plaintiffs did rely on such facts.
  20             67.       As a direct and proximate result of defendants’ aforementioned
  21 wrongdoing, the County Plaintiffs, each and all of them, have suffered damages,
  22 losses, costs, injuries, and harm, in an amount to be proven at trial and after
  23 authorized discovery.
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                           COUNTY & COUNTY INVESTIGATORS’ COMPLAINT FOR DAMAGES
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   1                                                 PRAYER
   2             WHEREFORE, Plaintiffs pray for judgment as follows:
   3             A.        For an award of compensatory damages in amount to be determined
   4 at the time of trial;
   5             B.        For punitive damages against defendants necessary punish and make
   6 an example of defendants;
   7             C.        For treble damages;
   8             D.        For interest as allowed by law;
   9             E.        For reasonable attorney's fees and costs of suit incurred;
  10             F.        For declaratory relief; and
  11             G.        For such other and further relief as the Court may deem just and
  12 proper.
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  14 DATED: March 4, 2020                            MANNING & KASS
                                                     ELLROD, RAMIREZ, TRESTER LLP
  15
  16
  17                                                 By:         /S/ Tony M. Sain
  18                                                          Tony M. Sain, Esq.
                                                              Lynn L. Carpenter, Esq.
  19                                                          Tori L.N. Bakken, Esq.
  20                                                       Attorneys for Defendants,
                                                           COUNTY OF RIVERSIDE, et al.
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                           COUNTY & COUNTY INVESTIGATORS’ COMPLAINT FOR DAMAGES
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   1                                            DEMAND FOR JURY TRIAL
   2             Defendants, COUNTY OF RIVERSIDE, ROBERT CREED, MARK
   3 CORDOVA, RICK ZERKEL, SHELDON GILL, AND EDWARD CHAVEZ
   4 hereby demand a trial by jury on all issues that may or should be tried by jury.
   5
   6 DATED: March 4, 2020                             MANNING & KASS
                                                      ELLROD, RAMIREZ, TRESTER LLP
   7
   8
   9                                                  By:         /s/ Tony M. Sain
  10                                                           Tony M. Sain, Esq.
                                                               Lynn L. Carpenter, Esq.
  11                                                           Tori L.N. Bakken, Esq.
  12                                                        Attorneys for Plaintiffs,
                                                            COUNTY OF RIVERSIDE, ROBERT
  13                                                        CREED, MARK CORDOVA, RICK
  14                                                        ZERKEL, SHELDON GILL, AND
                                                            EDWARD CHAVEZ
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                           COUNTY & COUNTY INVESTIGATORS’ COMPLAINT FOR DAMAGES
